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                                    Exhibit F
            Chief Roessler Review of AI Investigation
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